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                    9
                                              UNITED STATES DISTRICT COURT
                   10
                                             CENTRAL DISTRICT OF CALIFORNIA
                   11
                   12 DOE 1, an individual; DOE 2, an              CASE NO.: 8:18-cv-01499
                   13 individual; DOE 3, an individual; DOE
                      4, an individual; Doe 5, an individual;      FIRST AMENDED COMPLAINT
                   14 DOE 6, an individual; and DOE 7, an          FOR VIOLATION OF CIVIL
                                                                   RIGHTS
                   15 individual
                   16      Plaintiffs,
                   17
                              v.
                   18
                   19 SUPERIOR COURT OF
                      CALIFORNIA, COUNTY OF
                   20
                      ORANGE, a California public entity,
                   21
                           Defendant.
                   22
                   23
                              Plaintiffs hereby allege, by and through their undersigned counsel, for their
                   24
                        Complaint as follows:
                   25
                                                       INTRODUCTION
                   26
                              1.     On May 17, 2018, the Superior Court of California, County of
                   27
                        Orange, the Honorable John C. Gastelum presiding, issued an order (the “May 17
                   28
CROCKETT &                                                                              FIRST AMENDED COMPLAINT
ASSOCIATES
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                    1   Order,” attached hereto as Exhibit B) on a motion for a protective order in Roe 1
                    2   vs. Defendant Doe 1, Congregation, et al., Case No. 30-2014-00741722-CU-PO-
                    3   CJC (the “State Litigation”). In the State Litigation, plaintiff Roe 1 alleges that
                    4   defendant Does 1-3 are responsible, directly or indirectly, for sexual abuse
                    5   involving one of Jehovah’s Witnesses from 1994-1998.
                    6         2.     During the course of the State Litigation, Roe 1 propounded discovery
                    7   requests seeking documents from Doe 2, the Jehovah’s Witnesses’ supervisory
                    8   organization, Watchtower Bible and Tract Society of New York (“Watchtower”),
                    9   that relate to allegations of sexual abuse.
                   10         3.     On February 21, 2018, Watchtower filed a motion for a protective
                   11   order for relief from responding to certain of Roe 1’s requests for production of
                   12   documents on grounds that responses thereto would violate the clergy-penitent
                   13   privilege and violate the constitutionally-protected privacy rights of individuals
                   14   identified in the responsive documents.
                   15         4.     The Court’s May 17 Order partially granted and partially denied
                   16   Watchtower’s motion for a protective order, and ultimately ordered that
                   17   Watchtower produce documents without redactions, except for the names and
                   18   personal identifying information of potential victims, certain elders in the
                   19   congregation, and third-party victims and participants.
                   20         5.     The May 17 Order prohibits Watchtower from redacting the names of,
                   21   for example, family members of victims, who frequently share last names with
                   22   victims, Congregation members and friends the disclosure of whose names would
                   23   disclose victims’ names or otherwise cause the victims to be identifiable.
                   24         6.     Plaintiffs are members of some of the congregations of Jehovah’s
                   25   Witnesses that supplied the documents at issue in the State Litigation to
                   26   Watchtower. Each one of them is named, identified, or described in the documents
                   27   that must be produced pursuant to the May 17 Order, and each one of them faces a
                   28   serious risk that their privacy will be violated if the documents are produced
CROCKETT &
ASSOCIATES                                                            2                     FIRST AMENDED COMPLAINT
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                    1   without the redactions requested herein. Three of them are victims whose names
                    2   will be redacted, and yet each faces a risk of identification because the names of
                    3   their family members will not be redacted. The other three are family members of
                    4   victims who are concerned for their own privacy and for the privacy of their victim
                    5   family members. Plaintiff Doe 7 is a congregation elder. All seven Plaintiffs are
                    6   mentioned in the documents in the context of sexual abuse, assault, and
                    7   molestation—allegations that expose Plaintiffs to extreme harassment, humiliation,
                    8   ridicule, social stigmatization, and physical and emotional distress, and that
                    9   infringe upon their religious freedoms.
                   10         7.     By this First Amended Complaint, Plaintiffs ask this Court to enjoin
                   11   Defendant Superior Court of California, County of Orange, from enforcing the
                   12   May 17 Order, on grounds that the May 17 Order violates the constitutionally
                   13   protected rights to privacy and religious liberty of Plaintiffs in violation of 42
                   14   U.S.C. § 1983 and the United States Constitution.
                   15                                         PARTIES
                   16         8.     Plaintiffs 1 through 6 are individual members of the congregations.
                   17   Plaintiff Doe 7 is a congregation elder. Plaintiffs are permitted to bring this First
                   18   Amended Complaint under pseudonymous names pursuant to Does I thru XXIII v.
                   19   Advanced Textile Corp., 214 F.3d 1058 (9th Cir. 2000).
                   20         9.     Defendant Superior Court of California, County of Orange, is a public
                   21   entity located and/or operating in the County of Orange and created and/or existing
                   22   under the laws of the State of California.
                   23                             JURISDICTION AND VENUE
                   24         10.    This Court has subject matter jurisdiction over this action pursuant to
                   25   28 U.S.C. §§ 1331, 1343, 1367 and 42 U.S.C. § 1983.
                   26         11.    Venue is proper in the Central District of California under 28 U.S.C. §
                   27   1391(b) because Defendant is an Orange County entity and/or the events or
                   28   omissions giving rise to the claims herein occurred in this District.
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ASSOCIATES                                                           3                      FIRST AMENDED COMPLAINT
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                    1
                                                    FACTUAL ALLEGATIONS
                    2
                        Watchtower and the 1997 Body of Elder Letter
                    3
                              12.    Watchtower is a non-profit organization whose purpose is supporting
                    4
                        the faith of Jehovah’s Witnesses. On March 14, 1997, in an effort to ensure the
                    5
                        spiritual cleanness and purity of the congregations of Jehovah’s Witnesses in the
                    6
                        United States, Watchtower distributed a letter to approximately 10,000
                    7
                        congregations of Jehovah’s Witnesses (the “1997 Body of Elder Letter”)
                    8
                        instructing elders (spiritually-qualified men who take the lead in individual
                    9
                        congregations) to send a written report to Watchtower about “anyone who is
                   10
                        currently serving or formerly served in a [Watchtower]-appointed position in your
                   11
                        congregation who is known to have been guilty of child molestation in the past.”
                   12
                        Watchtower instructed that this information should be kept in extreme confidence.
                   13
                        The 1997 Body of Elder Letter also reminded elders of prior letters stating that
                   14
                        when a known child molester moves to another congregation, a letter of
                   15
                        introduction should be sent to the new congregation and a copy of the letter should
                   16
                        be sent to Watchtower. A copy of this letter is attached hereto as Exhibit A.
                   17
                              13.    In response to the 1997 Body of Elder Letter, thousands of pages of
                   18
                        reports were written and sent to Watchtower. Many of the reports include deeply
                   19
                        private details regarding individual Jehovah’s Witnesses’ experiences with sexual
                   20
                        assault, sexual abuse, and molestation. Additionally, many of the reports include
                   21
                        names and information about victims, perpetrators, individuals who were thought
                   22
                        to be victims or perpetrators but in fact were not, and all sorts of third parties,
                   23
                        including family members, friends, the elders in whom the Witnesses confided,
                   24
                        Bible teachers, and other members of the community and/or congregation.
                   25
                              14.    In addition, in the faith of Jehovah’s Witnesses, on occasion
                   26
                        congregation elders would send correspondence to Watchtower seeking the
                   27
                        spiritual assistance and spiritual and Scriptural guidance of experienced elders in
                   28
CROCKETT &
ASSOCIATES                                                          4                        FIRST AMENDED COMPLAINT
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                    1   handling matters involving congregants who engaged in conduct that represented a
                    2   serious deviation from Biblical standards (including the sin of child abuse) separate
                    3   and apart from the 1997 Body of Elder Letter. That correspondence was intended
                    4   to be and was recognized by all parties involved as confidential and restricted from
                    5   general circulation. When the correspondence addressed the sin of child abuse, it
                    6   also contained information that was extremely private and potentially deeply
                    7   humiliating or damaging. It included names and information about victims,
                    8   perpetrators, individuals who were thought to be victims but in fact were not, and
                    9   all sorts of third parties, including family members, friends, the elders in whom
                   10   congregants confided, Bible teachers, and other members of the community and/or
                   11   congregation.
                   12   The State Litigation and the Zalkin Law Firm’s Violations of Protective
                   13   Orders
                   14         15.    On August 25, 2014, plaintiffs Roe 1 and Roe 2, who attended some
                   15   meetings but were never Jehovah’s Witnesses, initiated the State Litigation against
                   16   defendants Does 1-3, who are a congregation of Jehovah’s Witnesses, an alleged
                   17   perpetrator, and Watchtower (identified in the State Litigation as “the supervisory
                   18   organization”). The State Litigation is a civil dispute between private parties in
                   19   which the State of California is not a party, intervenor, or real party in interest. It is
                   20   not a criminal or quasi-criminal proceeding.
                   21         16.    During the course of the State Litigation, plaintiff Roe 1 propounded
                   22   on Watchtower two requests for production of documents of relevance here.
                   23   Request No. 18 seeks “[a]ll letters, emails, facsimiles, or other documentary,
                   24   tangible, or electronically stored information of any kind, Watchtower Bible and
                   25   Tract Society of New York, Inc. received in response to the Body of Elder Letter
                   26   Dated March 14, 1997,” (“RFP No. 18”). Request No. 19 seeks “[a]ny and all
                   27   individual written accounts, reports, summaries, letters, emails, facsimiles, and
                   28   records, whether or not compiled, concerning reports of sexual abuse of children
CROCKETT &
ASSOCIATES                                                          5                         FIRST AMENDED COMPLAINT
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                    1   by members of the Jehovah’s Witnesses, including but not limited to, Governing
                    2   Body members, district overseers, circuit overseers, elders, ministerial servants,
                    3   pioneers, publishers, baptized publishers, and individuals from the time period of
                    4   1979 to the present,” (“RFP No. 19”).
                    5         17.    On February 21, 2018, Watchtower filed a motion for a protective
                    6   order for relief from responding to RFP Nos. 18 and 19 on grounds that responses
                    7   thereto would violate the clergy-penitent privilege and violate the constitutionally-
                    8   protected privacy rights of individuals identified in the responsive documents.
                    9         18.    In support of Watchtower’s motion for a protective order, Joel M.
                   10   Taylor, Watchtower’s in-house counsel, submitted a declaration stating that
                   11   Watchtower had evidence that the Zalkin Law Firm (“Zalkin”), counsel for
                   12   plaintiffs in the State Litigation, would use any documents produced in response to
                   13   RFP Nos. 18 and 19 in a manner that violated the existing protective order and/or
                   14   the privacy of the people identified in the documents because Mr. Devin Storey, a
                   15   member of Zalkin, informed Mr. Taylor that Zalkin would file any produced
                   16   documents as exhibits to a motion under seal and would then move to have the
                   17   exhibits unsealed. As set forth in Mr. Taylor’s declaration, Mr. Storey also
                   18   informed Mr. Taylor that if the motion to unseal the exhibits failed, his law firm
                   19   knew a member of the press, Trey Bundy, and that the firm would work with Mr.
                   20   Bundy to file a motion on behalf of the press to have the exhibits unsealed and
                   21   release the documents into the public domain. Mr. Taylor’s declaration also
                   22   submitted evidence demonstrating that Mr. Irwin Zalkin of the Zalkin firm had
                   23   already used documents substantially similar to the documents that would be
                   24   produced in the State Litigation (which themselves were produced in an earlier
                   25   related case) in a manner that violated an applicable protective order for the
                   26   purpose of aiding him in another lawsuit, and had discussed those documents in a
                   27   public interview with Mr. Bundy.
                   28         19.    Publication of the documents could have deleterious effects on abuse
CROCKETT &
ASSOCIATES                                                        6                       FIRST AMENDED COMPLAINT
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                    1   victims and others.
                    2
                        The May 17 Order
                    3
                               20.    On May 17, 2018, the Court issued an order partially denying and
                    4
                        partially granting Watchtower’s motion for a protective order as follows: with
                    5
                        respect to RFP No. 18, Watchtower was ordered to respond to the request and to
                    6
                        “redact the names and personal identifying information of potential victims of
                    7
                        molestation and the names of the elders in the congregation who authored the
                    8
                        responses to protect third-parties’ right to privacy.” With respect to RFP No. 19,
                    9
                        the Court limited “any document production to the terms as follows: (1) redaction
                   10
                        of personally-identifying information for alleged third-party victims and third party
                   11
                        participants; (2) a protective order to govern use of such documents (i.e., use and
                   12
                        dissemination is limited for purposes of this litigation only); and (3) a limited
                   13
                        scope of time from 1989-1999.” With respect to both requests, the Court ordered
                   14
                        that use and dissemination of any responsive documents be limited for purposes of
                   15
                        the litigation only.
                   16
                               21.    Pursuant to the May 17 Order, Watchtower is obligated to produce
                   17
                        documents responsive to RFP Nos. 18 and 19 and is prohibited from redacting the
                   18
                        names or identifying information of anyone who is not a victim, or an elder who
                   19
                        authorized or signed the correspondence.
                   20
                               21a.1 In August of 2018, Watchtower produced in the State Litigation the
                   21
                        aforementioned documents with redactions of all identifying information to which
                   22
                        Plaintiff Does 1 thorough 7 would object; the produced documents, however, do
                   23
                        not redact privileged clergy-penitent communications. On September 28, 2018,
                   24
                        Does 1 through 6 filed a motion for a further protective order before Defendant
                   25
                        Superior Court to assert their privacy rights, their clergy-penitent privilege and
                   26
                   27   1
                            As of the date of the filing of this First Amended Complaint, there are two motions to
                            dismiss pending before the Court. To preserve the paragraph numbering as cited to in
                   28       the motions to dismiss, inserted paragraphs will be numbered, for example, as
                            paragraph 21a, 21b, 21c, etc.
CROCKETT &
ASSOCIATES                                                           7                        FIRST AMENDED COMPLAINT
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                    1   religious freedom objections to disclosure of the documents. As of the date of this
                    2   First Amended Complaint, there has been no relief granted to Plaintiffs by
                    3   Defendant Superior Court to protect their rights. Furthermore, in seeking to assert
                    4   their privacy rights in the documents in the State Litigation, Defendant Superior
                    5   Court has ordered the written depositions of Plaintiff Does 1 through 6, which
                    6   places an additional burden on them that is above and beyond the burdens typically
                    7   imposed upon nonparties claiming privilege. The plaintiffs in the State Litigation
                    8   have filed a motion for sanctions against Watchtower for failure to produce
                    9   documents without the fulsome redactions needed to protect the disclosure
                   10   identifying information. There is imminent harm to Plaintiffs because Watchtower
                   11   is under threat of sanctions that could induce Watchtower to produce documents
                   12   that do not protect Plaintiffs’ privacy or their religious communications.
                   13   The Impacts of the May 17 Order on Plaintiffs
                   14         22.    Plaintiff Doe 1 is a member of a congregation of Jehovah’s Witnesses.
                   15   Plaintiff Doe 1 is the father of a victim, a wholly disinterested person and non-
                   16   party to the State Court Litigation who, on information and belief, is named,
                   17   identified, or otherwise described in Document 1, a document that is currently
                   18   subject to production without redactions relating to Plaintiff Doe 1 under the May
                   19   17 Order. On information and belief, Document 1 states that in approximately late
                   20   1996 or early 1997, Plaintiff Doe 1 was accused of, investigated for, and
                   21   exonerated of, sexual abuse of his daughter, Plaintiff Doe 2, after she sustained a
                   22   bruise injury to her vagina while riding a bicycle. During the course of the secular
                   23   investigation conducted by social services and the police, as well as the spiritual
                   24   investigation conducted by elders of the congregation, Plaintiff Doe 2 admitted that
                   25   she had engaged in masturbation, had played in a sexual manner with a toy stuffed
                   26   rabbit, and that she had watched sexually explicit movies that initiated her sexual
                   27   thoughts and conduct. During the course of the spiritual investigations, spiritual
                   28   communications were made in confidence to the elders in the presence of no third
CROCKETT &
ASSOCIATES                                                        8                        FIRST AMENDED COMPLAINT
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                    1   persons aside from Plaintiff Doe 1’s wife and daughter, Plaintiff Doe 2. Plaintiff
                    2   Doe 2 told the investigators that her father, Plaintiff Doe 1, had never touched her
                    3   inappropriately in any way. Pursuant to the recommendation of the social services
                    4   investigators, the District Attorney declined to file charges against Plaintiff Doe 1
                    5   and he was exonerated. Because Plaintiff Doe 1 is not a victim or other person
                    6   subject to redaction under the May 17 Order, Watchtower will not be permitted to
                    7   redact Plaintiff Doe 1’s name when Document 1 is produced. If this Court does not
                    8   enjoin the May 17 Order and require that, at minimum, Plaintiff Doe 1’s name and
                    9   other identifying information (such as his wife’s name) be redacted, the
                   10   information in Document 1 will become known to attorneys, experts, and possibly
                   11   others in the State Litigation and elsewhere, and Plaintiff Doe 1 will face a serious
                   12   risk of extreme harassment, humiliation, ridicule, social stigmatization,
                   13   professional repercussions such as job loss or reputation harm, and physical and
                   14   emotional distress. Such an intrusion in this deeply personal and private matter that
                   15   was intended for religious review would inhibit Plaintiff Doe 1 and his family’s
                   16   ability to freely exercise their faith without fear of government intervention.
                   17   Moreover, Plaintiff Doe 2’s identity will become known because, even though her
                   18   name will be redacted as a victim, she shared her father’s last name at the time.
                   19   Plaintiff Doe 1 is concerned for his privacy as well as that of his daughter, Plaintiff
                   20   Doe 2.
                   21         23.    Plaintiff Doe 2 is a member of a congregation of Jehovah’s Witnesses.
                   22   Plaintiff Doe 2 is a victim and, on information and belief, is named, identified, or
                   23   otherwise described in Document 1,2 a document that is currently subject to
                   24   production without redactions relating to Plaintiff Doe 2’s father, Plaintiff Doe 1,
                   25   under the May 17 Order. On information and belief, Document 1 states that in
                   26
                        2
                         As Plaintiffs Does 1 and 2 are both named or identified in Document 1, this First
                   27   Amended Complaint intentionally omits any reference to a Document 2 for the sake of
                        clarity. Instead, allegations pertaining to Plaintiff Doe 3 are made with reference to
                   28   Document 3, allegations pertaining to Plaintiff Doe 4 are made with reference to
                        Document 4, and so forth.
CROCKETT &
ASSOCIATES                                                          9                        FIRST AMENDED COMPLAINT
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                    1   approximately 1997, Plaintiff Doe 1 was accused of, investigated for, and
                    2   exonerated of, sexual abuse of his daughter, Plaintiff Doe 2, after she sustained a
                    3   bruise injury to her vagina while riding a bicycle. During the course of the secular
                    4   investigation conducted by social services and the police, and a spiritual
                    5   investigation conducted by elders of the Congregation, Plaintiff Doe 2 admitted
                    6   that she had engaged in masturbation, had played in a sexual manner with a toy
                    7   stuffed rabbit, and that she had watched sexually explicit movies that initiated her
                    8   sexual thoughts and conduct. During the course of the spiritual investigations,
                    9   spiritual communications were made in confidence to the elders in the presence of
                   10   no third persons aside from Plaintiff Doe 2 and her parents. Plaintiff Doe 2 told the
                   11   investigators that her father, Plaintiff Doe 1, had never touched her inappropriately
                   12   in any way. Pursuant to the recommendation of the social services investigators,
                   13   the District Attorney declined to file charges against Plaintiff Doe 1 and he was
                   14   exonerated. As a victim, Plaintiff Doe 2’s name will be redacted when Document 1
                   15   is produced under the May 17 Order, but her father’s will not. If this Court does
                   16   not enjoin the May 17 Order and require that, at minimum, Plaintiff Doe 1’s name
                   17   and other identifying information (such as his wife’s name) be redacted, the
                   18   information in Document will become known to attorneys, experts, and possibly
                   19   others in the State Litigation and elsewhere, and Plaintiff Doe 2’s identity will
                   20   become known because, even though her name will be redacted as a victim, she
                   21   shared her father’s last name at the time. Plaintiff Doe 2 will, therefore, face a
                   22   serious risk of extreme harassment, humiliation, ridicule, social stigmatization,
                   23   professional repercussions such as job loss or reputation harm, and physical and
                   24   emotional distress. Such an intrusion in this deeply personal and private matter that
                   25   was intended for religious review would inhibit Plaintiff Doe 2’s ability to freely
                   26   exercise her faith without fear of government intervention. Plaintiff Doe 2 is
                   27   concerned for her privacy.
                   28         24.    Plaintiff Doe 3 is a member of a congregation of Jehovah’s Witnesses.
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ASSOCIATES                                                        10                        FIRST AMENDED COMPLAINT
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                    1   Plaintiff Doe 3 is a victim and, on information and belief, is named, identified, or
                    2   otherwise described in Document 3, a document that is currently subject to
                    3   production without redactions relating to Plaintiff Doe 3’s parents under the May
                    4   17 Order. On information and belief, Document 3 states that Plaintiff Doe 3 was
                    5   sexually abused for years by her father, who fondled her breasts and touched her in
                    6   the vaginal area. As a victim, Plaintiff Doe 3’s name will be redacted when
                    7   Document 3 is produced under the May 17 Order, but her father’s and mother’s
                    8   will not. If this Court does not enjoin the May 17 Order and require that, at
                    9   minimum, Plaintiff Doe 3’s parents’ names and other identifying information to be
                   10   redacted, the information in Document 3 will become known in the State Litigation
                   11   and Plaintiff Doe 3’s identity will become known because, even though her name
                   12   will be redacted as a victim, the identity of the victim referred to in Document 3
                   13   will be abundantly clear. Plaintiff Doe 3 will, therefore, face a serious risk of
                   14   extreme harassment, humiliation, ridicule, social stigmatization, and physical and
                   15   emotional distress. Old wounds would be unnecessarily reopened. Plaintiff Doe 3
                   16   is concerned for her privacy since the abuse ended long ago in 1977.
                   17         25.    Plaintiff Doe 4 is a member of a congregation of Jehovah’s Witnesses.
                   18   Plaintiff Doe 4 is the father of a victim and, on information and belief, is named,
                   19   identified, or otherwise described in Document 4, a document that is currently
                   20   subject to production without redactions relating to Plaintiff Doe 4 under the May
                   21   17 Order. On information and belief, Document 4 states that for years, starting in
                   22   1985, Plaintiff Doe 4’s daughter was sexually abused more than 40 times by
                   23   another member of the Congregation, who made her perform oral sex on him and
                   24   was ultimately disfellowshipped after an investigation by the elders of the
                   25   Congregation. This perpetrator was prosecuted and sentenced to prison for 30
                   26   years and was released after 16 years. The perpetrator is now living in the victim’s
                   27   community as a registered sex offender. Because Plaintiff Doe 4 is not a victim or
                   28   other person subject to redaction under the May 17 Order, Watchtower will not be
CROCKETT &
ASSOCIATES                                                        11                        FIRST AMENDED COMPLAINT
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                    1   permitted to redact Plaintiff Doe 4’s name when Document 4 is produced. If this
                    2   Court does not enjoin the May 17 Order and require that, at minimum, Plaintiff
                    3   Doe 4’s name and other identifying information be redacted, the information in
                    4   Document 4 will become known in the State Litigation and Plaintiff Doe 4 will
                    5   face a serious risk of extreme harassment, humiliation, ridicule, social
                    6   stigmatization, professional repercussions such as job loss or reputation harm, and
                    7   physical and emotional distress. Moreover, Plaintiff Doe 4’s daughter’s identity
                    8   will become known because, even though her name will be redacted as a victim,
                    9   she shares her father’s last name. Plaintiff Doe 4 is concerned for his privacy as
                   10   well as that of his daughter, who, as a result of the abuse, has become an alcoholic,
                   11   has attempted suicide, and cannot live without adult support.
                   12         26.    Plaintiff Doe 5 is a member of a congregation of Jehovah’s Witnesses.
                   13   Plaintiff Doe 5 is a victim and, on information and belief, is named, identified, or
                   14   otherwise described in Document 5, a document that is currently subject to
                   15   production without redactions relating to Plaintiff Doe 5’s brother under the May
                   16   17 Order. On information and belief, Document 5 states that Plaintiff Doe 5,
                   17   starting in the early 1960s, was sexually abused by her brother when they were
                   18   both minors. As an adult, her brother confessed to elders in his congregation about
                   19   what he had done, the confession was to seek spiritual guidance and there were no
                   20   third parties present. The abuse lasted from when Plaintiff Doe 5 was 4 years old
                   21   until Plaintiff Doe 5 was 12 years old. As a victim, Plaintiff Doe 5’s name will be
                   22   redacted when Document 5 is produced under the May 17 Order, but her brother’s
                   23   name will not. If this Court does not enjoin the May 17 Order and require that, at
                   24   minimum, Plaintiff Doe 5’s brother’s name and other identifying information be
                   25   redacted, the information in Document 5 will become known in the State Litigation
                   26   and Plaintiff Doe 5’s identity will become known because, even though her name
                   27   will be redacted as a victim, she shares her brother’s last name. Plaintiff Doe 5
                   28   will, therefore, face a serious risk of extreme harassment, humiliation, ridicule,
CROCKETT &
ASSOCIATES                                                        12                       FIRST AMENDED COMPLAINT
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                    1   social stigmatization, professional repercussions such as job loss or reputation
                    2   harm, and physical and emotional distress. Plaintiff Doe 5 is concerned for her
                    3   privacy. Furthermore, Plaintiff Doe 5 and her brother have since found peace as he
                    4   has admitted to her what he has done and has worked to improve their spiritual
                    5   relationship; they look to Jehovah God for guidance. Plaintiff Doe 5’s brother is
                    6   now married and has a family. The abuse happened about 50 years ago.
                    7         At all relevant times, Plaintiff Doe 6 was a member of a congregation of
                    8   Jehovah’s Witnesses. On information and belief, Plaintiff Doe 6 and his two sons
                    9   are named, identified, or otherwise described in Document 6, a document that is
                   10   currently subject to production without redactions relating to Plaintiff Doe 6 or his
                   11   older son under the May 17 Order. On information and belief, Document 6 states
                   12   that when Plaintiff Doe 6’s older son was 12 years old, he watched a television
                   13   program concerning different religious practices. From that television program, his
                   14   son somehow got the idea to put his mouth on his infant brother’s genitals.
                   15   Although the conduct was not intentionally sexual in nature, Plaintiff Doe 6’s older
                   16   son was spiritually troubled by his behavior throughout his early teen years, until
                   17   he finally confessed to his father and some elders from their Congregation about
                   18   what he had done. Plaintiff Doe 6 provided information about his son’s actions
                   19   toward his infant brother to the elders of his Congregation to seek help ensuring all
                   20   concerned retained a healthy relationship with God. Some of the information
                   21   shared with congregation elders was, on information and belief, put into Document
                   22   6. On information and belief, the letter was written so that the elders could seek
                   23   spiritual direction and advice from elders assisting Watchtower regarding whether
                   24   Plaintiff Doe 6’s older son should be considered an abuser, which was not clear
                   25   given his youth and the limited nature of the conduct. Plaintiff Doe 6 and his older
                   26   son provided that information to receive spiritual guidance and reprieve, fully
                   27   believing that it would be kept in extreme confidence, and would be shared only
                   28   among the elders who were involved and the elders at Watchtower; no third parties
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                    1   were present. Because Plaintiff Doe 6 and his older son are not victims or other
                    2   persons subject to redaction under the May 17 Order, Watchtower will not be
                    3   permitted to redact Plaintiff Doe 6’s name or that of his older son when Document
                    4   6 is produced. If this Court does not enjoin the May 17 Order and require that, at
                    5   minimum, Plaintiff Doe 6’s name, the name of his older son, and other identifying
                    6   information be redacted, Plaintiff Doe 6’s younger son will be easily identified,
                    7   even if his name is redacted, as they share the same last name. His involvement in
                    8   a spiritual investigation into childhood conduct, and the details of that conduct,
                    9   will become known to attorneys, experts, and possibly others in the State Litigation
                   10   and elsewhere. Such a secular examination of this deeply personal and private
                   11   matter that was solely intended for religious review would inhibit their family’s
                   12   ability to freely exercise their faith without fear of government intervention,
                   13   including having privately confessed concerns to their spiritual leaders not kept
                   14   confidential. As Jehovah’s Witnesses, they deeply believe that confession to the
                   15   elders and repentance are essential to attain to salvation. To this day, Plaintiff Doe
                   16   6’s younger son, who is now an adult, is unaware of the investigation or his older
                   17   brother’s one-time physical contact, as he was just an infant at the time and no one
                   18   has ever discussed this matter with him. Plaintiff Doe 6 is thus gravely concerned
                   19   about the impact on his younger son’s privacy and well-being if Document 6 is
                   20   produced without redacting his name and his older son’s name. Moreover, Plaintiff
                   21   Doe 6’s younger son currently has a good relationship with his brother, and
                   22   Plaintiff Doe 6 is concerned that their relationship could be damaged if Document
                   23   6 becomes known. Likewise, Plaintiff Doe 6 is concerned for his older son’s
                   24   privacy and his own if Document 6 becomes known. They have a reasonable fear
                   25   of extreme harassment, humiliation, ridicule, social stigmatization, professional
                   26   repercussions such as job loss or reputation harm, and physical and emotional
                   27   distress if Document 6 is produced without redacting Plaintiff Doe 6’s name and
                   28   his older son’s name. Plaintiff Doe 6 has grave concerns about his privacy rights,
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                    1   as well as those of both his sons, and wants to protect the voluntary confession of
                    2   his son who was seeking spiritual reprieve, a confession Plaintiff Doe 6
                    3   encouraged him to make in complete confidentiality to their spiritual leaders.
                    4   There were no third parties present during the spiritual reprieve.
                    5      27a. Plaintiff Doe 7 has served as a member of a congregation since 1992. In
                    6   his capacity of an elder, he is authorized by his faith to hear communications made
                    7   in confidence from other Jehovah’s Witnesses in his congregation. Under the
                    8   beliefs and practices of his faith, he has a scriptural duty to keep those
                    9   communications confidential and only to share them confidentially with other
                   10   elders for the purpose of receiving guidance in his duties as an elder and for the
                   11   spiritual health of his fellow Jehovah’s Witnesses. Plaintiff Doe 7’s congregation,
                   12   like other Jehovah’s Witnesses congregations, uses lay ministers (elders) in the
                   13   practice of the faith. There is no paid clergy. The religion depends on having trust
                   14   and inviolate confidentiality between members and elders. The circle of
                   15   confidentiality extends to other experienced elders within the faith, not only to the
                   16   elder who first heard and received the spiritual communication. This means that on
                   17   occasion, elders may discuss spiritual communications with other more
                   18   experienced elders including those assisting Watchtower at the national office of
                   19   Jehovah’s Witnesses in New York. Disclosure across the ecclesiastical line in no
                   20   way breaks the expectation of confidentiality. When spiritual communications are
                   21   made, members and elders know and expect that the information may be shared
                   22   among the elders with a need to know. There is no version of the Catholic
                   23   confession box in the Jehovah’s Witnesses religion and such a confession model is
                   24   not allowed.
                   25      27b. In the mid-1990s, a congregant from another congregation informed her
                   26   elders that a fellow congregant was sexually abused as a child by her father. The
                   27   victim was an adult at the time of this disclosure. Her father was not one of
                   28   Jehovah’s Witnesses at the time of the alleged sexual abuse, but had since joined
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ASSOCIATES                                                        15                         FIRST AMENDED COMPLAINT
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                    1   the faith as member of Plaintiff Doe 7’s congregation. Plaintiff Doe 7 was asked to
                    2   do a spiritual inquiry. Plaintiff Doe 7 met with the father in Plaintiff Doe 7’s
                    3   capacity as an elder. As a member of the congregation, the father shared the
                    4   communications with Plaintiff Doe 7 and another elder while no one else was
                    5   present. The father fully expected the elders to keep this communication in
                    6   confidence consistent with the faith. Plaintiff Doe 7 told the father that the
                    7   communications would be kept in confidence. If through investigation of other
                    8   information in the letter Plaintiff Doe 7’s identity is revealed, that would open
                    9   Plaintiff Doe 7 up to possible subpoena to testify in violation of Plaintiff Doe 7’s
                   10   sincerely held religious beliefs. If the content of Plaintiff Doe 7’s spiritual
                   11   communication with the alleged abuser is revealed, counsel in the State Litigation
                   12   and others will be able to determine the identity of the victim and others as
                   13   Jehovah’s Witnesses congregations are small and everyone knows one another.
                   14   Plaintiff Doe 7’s ability to practice his faith will be severely infringed upon as he
                   15   will no longer be able to assure congregants that he can hear their spiritual
                   16   communications in confidence. For purposes of this First Amended Complaint, the
                   17   document mentioning Plaintiff Doe 7’s spiritual communications shall be referred
                   18   to as Document 7.
                   19        27c. Aside from the shared membership in the Jehovah’s Witnesses faith,
                   20   Plaintiffs have no relationship to the facts of the State Litigation. They have no
                   21   knowledge of the facts of that case. They do not know the plaintiffs in the State
                   22   Litigation.
                   23         27.     Moreover, given the statements made by Mr. Storey to Mr. Taylor, as
                   24   set forth in Mr. Taylor’s declaration in the State Litigation, and the other conduct
                   25   of the Zalkin Law Firm, Plaintiffs are concerned that Documents 1 through 7 will
                   26   be used in a manner that violates the protective order entered in the State
                   27   Litigation, their privacy, and their religious freedoms as the Zalkin Law Firm has
                   28   made clear its desire to get the documents into the public domain, without any
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                    1   regard for the harm that would cause to Plaintiffs and other individuals identified
                    2   in the documents.
                    3   The May 17 Order’s Other Impacts on Victims of Abuse
                    4         28.    To be sure, disclosure of any scintilla of third-party information,
                    5   including but not limited to the names of the individuals or even the congregations
                    6   involved, could have far-reaching and traumatic consequences for victims of
                    7   abuse. Documentation filed in the State Litigation indicates, and Plaintiffs herein
                    8   confirm, that Congregations bear the name of the areas in which they are located,
                    9   and they are comprised of small numbers of fellow-worshippers. Thus, the
                   10   identification of Congregations in the documents at issue would necessarily lead to
                   11   the identification of the victims and others involved.
                   12         29.    It is not difficult to imagine the horrors survivors of abuse could
                   13   experience if they woke up one morning and discovered that deeply personal and
                   14   private matters they had discussed in a confidential religious setting were now
                   15   publicly available on the Internet. That is the avowed purpose of the Zalkin Law
                   16   Firm in the State Litigation. Production pursuant to the May 17 Order creates a
                   17   genuine risk that a survivor may engage in self-harm or commit suicide.
                   18                   COUNT 1 – U.S. CONST. AMENDS. IV, V, XIV
                   19         30.    Plaintiffs repeat, reallege, and incorporate the allegations in
                   20   paragraphs 1-30 as if fully set forth herein.
                   21         31.    By compelling the disclosure of the names or other identifying
                   22   information of Plaintiffs or their family members, Defendant will unlawfully and
                   23   substantially deprive Plaintiffs of the privacy rights secured by the IV, V, and XIV
                   24   Amendments of the United States Constitution, in violation of 42 U.S.C. § 1983.
                   25         32.    Plaintiffs have no adequate remedy at law to avert this harm. Plaintiffs
                   26   are entitled to a declaratory judgment and injunctive relief prohibiting Defendant
                   27   from ordering production of the documents, unless Plaintiffs’ names and other
                   28   identifying information, or the names of Plaintiffs’ family members as herein
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                    1   requested, are redacted.
                    2           COUNT 2 –CONST. OF STATE OF CALIFORNIA, ART. I, § 1
                    3          33.    Plaintiffs repeat, reallege, and incorporate the allegations in
                    4   paragraphs 1-33 as if fully set forth herein.
                    5          34.    By compelling the disclosure of the names or other identifying
                    6   information of Plaintiffs or their family members, Defendant will unlawfully and
                    7   substantially deprive Plaintiffs of the privacy rights secured by the Constitution of
                    8   the State of California, Art. I, § 1.
                    9          35.    Plaintiffs have no adequate remedy at law to avert this harm. Plaintiffs
                   10   are entitled to a declaratory judgment and injunctive relief prohibiting Defendant
                   11   from ordering production of the documents, unless Plaintiffs’ names and other
                   12   identifying information, or the names of Plaintiffs’ family members as herein
                   13   requested, are redacted.
                   14                          COUNT 3 – U.S. CONST. AMEND. I
                   15          36.    Plaintiffs repeat, reallege, and incorporate the allegations in
                   16   paragraphs 1-32 as if fully set forth herein.
                   17          37.    By compelling the disclosure of the names or other identifying
                   18   information of Plaintiffs or their family members, Defendant will unlawfully and
                   19   substantially deprive Plaintiffs of the religious liberties secured by the Free
                   20   Exercise and Establishment Clauses of the First Amendment of the United States
                   21   Constitution, in violation of 42 U.S.C. § 1983.
                   22          38.    By compelling the disclosure of the names or other identifying
                   23   information of Plaintiffs or their family members, Defendant will unlawfully and
                   24   substantially deprive Plaintiffs of the protections afforded by a penitent’s privilege,
                   25   in violation of California Evidence Code § 1033, which provides that “a penitent,
                   26   whether or not a party, has a privilege to refuse to disclose, and to prevent another
                   27   from disclosing, a penitential communication if he or she claims the privilege.”
                   28   The compelled disclosure also violates the protections of the clergy’s privilege
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                    1   under California Evidence Code § 1034. Government compelled disclosure of
                    2   spiritual communications, notwithstanding the clergy-penitent privileges, is an
                    3   undue burden on the religious practices of Plaintiffs.
                    4         39.    Plaintiffs have no adequate remedy at law to avert this harm. Plaintiffs
                    5   are entitled to a declaratory judgment and injunctive relief prohibiting Defendant
                    6   from ordering production of the documents, unless Plaintiffs’ names and other
                    7   identifying information, or the names of Plaintiffs’ family members as herein
                    8   requested, are redacted.
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                    1                                   PRAYER FOR RELIEF
                    2           Wherefore, Plaintiffs request judgment be entered in their favor and against
                    3   Defendant as follows:
                    4           a.      An order declaring that the Plaintiffs have protectable privacy rights
                    5   and religious freedoms in the documents that are subject to the May 17 Order.
                    6           b.      An order granting preliminary injunctive relief from taking any action
                    7   to enforce, implement, or otherwise achieve the document productions provided
                    8   for in the May 17 Order as currently issued, with respect to the unredacted names
                    9   or identifying information of Plaintiffs or their family members;
                   10           c.      An order permanently enjoining Defendant from taking any action to
                   11   enforce, implement, or otherwise achieve the document productions provided for
                   12   in the May 17 Order as currently issued, with respect to the unredacted names or
                   13   identifying information of Plaintiffs or their family members;
                   14           d.      A judgment declaring that the May 17 Order, as currently issued,
                   15   violates the United States Constitution and is null and void;
                   16           e.      An award to Plaintiffs of their reasonable attorneys’ fees and costs
                   17   under 42 U.S.C. § 1988; and
                   18           f.      Such additional or different relief as the Court deems just and proper.
                   19
                        Date: January 3, 2018                     Respectfully submitted,
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                   21                                             CROCKETT & ASSOCIATES

                   22                                             By /s/ Robert D. Crockett
                   23                                              Attorneys for Plaintiffs

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ASSOCIATES                                                          20                       FIRST AMENDED COMPLAINT
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